               Case 1:19-cr-01300-MV Document 36 Filed 09/13/21 Page 1 of 1

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  AO 442 (Rev. 10/08) Warrant for Arrest                                                                          I:'Oy
                                                                                     fli ;.-,.'  ,, ,
                                                                                           ;.':'JI'
                               I.INITED STATES DISTRICT COURTIJ"l                                   .   ,. I.; :i.IJ ,.:
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                                           District of New Mexico


           LINITED STATES OF AMERICA                              WARRANT FOR ARREST
                          V.                                      Duplicate Original
                Daniela Cota-Guitimea                             (Pursuant to Rule 4l)
                                                                  Case: 1084 1:19CR01300- 001MV
To: The United States Marshal
       and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest Daniela Cota-Guitimea and bring him or her forthwith to
the nearest magistrate judge to answer a petition for

 X Violation of Conditions of         E Probation Violation                 E Supervision Release Violation
     Pretrial Release

charging him or her
The defendant was placed on a GPS with the Home Detention Component. On September 28,2019 at
approximately 9:40 a.m., the defendant cut off her bracelet without permission and absconded from
supervision.



WARRANT issued for the defendant's arrest to show cause why the supervision should not be revoked for
violation for the conditions of supervision as set by the Honorable Marthi Yazquezin violation of Conditions
of Release.


I certify that the issuing judge has directed this officer to sign the judge's name on the duplicate original
warrant pursuant to Rule al(eX3XD) of the Federal Rules of criminal procedure.


 Honorable John Robenhaar lsl                          Septerlber 28,2019 at 10:25 a.m.
 Name of Issuing Judge                                 Date and Time:


Albuquerque                                           .fgffrey Martinez- Sp elich I s I
Location                                               Senior United States Probation/Pretrial Services Officer

                                       RETURN
Thiswarrantwasreceivedandexecutedwiththeu'."'tofth
                 C*lant'co I           Cfr
DATE RECEIVED                                                           SIGNATURE OF ARRESTING OFFICER


     1 I arla"tl
DATE OF ARREST


   Qlto/aorR
